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 NEWS FEATURE




               THE
         BILLION-DOLLAR
             BIOTECH
              Moderna Therapeutics has big ambitions and a bankroll to match.
    How a fledgling start-up became one of the most highly valued private drug firms ever.
                                                                      BY ELIE DOLGIN




A
       t a breakfast meeting two-and-a-half years       But Moderna is also something of a mystery.             are mostly limited to secreted molecules. An
       ago, Pascal Soriot, the newly minted chief   As a private firm, it has revealed very little of           mRNA-based therapy would be able to make
       executive of pharmaceutical giant Astra-     its research. Its academic founders have pub-               proteins that operate inside the cell as well.
       Zeneca, shook hands on the first major       lished only one study1 using Moderna’s mRNA                 “mRNA delivery would reinvent how we as
drug-development deal of his tenure. It was         therapeutics technology in rodents. And the                 an industry tackle many diseases,” says Peter
a research partnership with little-known bio-       company itself has disclosed scientific details             Kolchinsky, managing partner of RA Capital
technology company Moderna Therapeutics             (including some about early work in non-                    Management in Boston, Massachusetts, which
of Cambridge, Massachusetts. Worth up to            human primates) only through patent filings.                is one of the latest investors in Moderna.
US$420 million, the deal was unusually large        Add in questions about the strength of Mod-                    But delivery is tricky. In the early 1990s,
for a start-up that offered only a fledgling drug   erna’s patent position and the troubled history             scientists first demonstrated that injected
technology, especially one that had not yet even    of other RNA-based drugs, and some analysts                 mRNA could generate proteins in mice2 and
been tested in humans.                              are wondering whether the company will be                   rats3. But protein production was low and tran-
   That was the first of many huge cheques for      able to deliver on its promises.                            sient, and the mRNA seemed too unstable to
Moderna. This January alone, the company                “I don’t think they’ve really overcome the              make a suitable drug. Years later, researchers
announced a record $500 million in financ-          critical issues,” says Dirk Haussecker, an RNA-             also realized that lab-synthesized mRNA tends
ing from a handful of investors, pushing it over    therapeutics consultant in Rastatt, Germany.                to spur an immune attack after it is injected,
the $1-billion fund-raising mark and making it      Based on the publicly available records, he says,           triggering potentially dangerous inflammatory
the most highly valued venture-backed private       “I haven’t seen anything from Moderna that                  responses. So a handful of researchers started
company in drug development today.                  makes me say, ‘Oh, they really have a competi-              working their way around the body’s defences
   “Everybody is talking about this,” says          tive edge or they’re very different — in a league           by modifying the RNA.
Johannes Fruehauf, who runs LabCentral, an          of their own.’ From a science point of view, it                Moderna traces its origins to one such effort,
incubator and shared laboratory facility in the     doesn’t seem to make sense.” But as a business              in the laboratory of Derrick Rossi. A stem-cell
bustling Cambridge biotechnology hub known          it is surging ahead.                                        biologist at Boston Children’s Hospital, Rossi
as Kendall Square. “It’s inevitable with these                                                                  and his postdoc Luigi Warren were trying to
large, eye-popping numbers.”                        A SIMPLE APPROACH                                           use mRNA to coax cells into a ‘pluripotent’
   Investors are clearly attracted to Moderna’s     On paper, the idea of mRNA therapy seems                    state, capable of giving rise to many cell types. To
technology, which aims to use chemically            simple. If someone cannot produce enough of                 avoid triggering inflammation, the researchers
modified messenger RNA (mRNA) molecules             a certain protein, or produces a broken version,            replaced some of the RNA’s molecular building
to produce any protein that the body might          doctors could inject their cells with mRNA that             blocks — the nucleosides uridine and cytidine
need. Backers have also bought into the reputa-     codes for a replacement protein. This would                 — with pseudo­uridine and 5-methylcytidine.
tion of the company’s high-profile co-founders      avoid the risks of tinkering with the genome                This makes the RNA look more like something
and its charismatic chief executive, whose bold     permanently, as is done in some forms of gene               that the cell would produce itself, because invad-
ambition is to move 100 drugs into clinical         therapy. And whereas growth factors, antibod-               ers such as bacteria cannot usually make these
testing within the next decade, treating every­     ies and other complex ‘biological’ drugs can be             modifications to their own mRNA.
thing from cancer to rare genetic diseases.         produced in vats by bioengineered cells, these                 It worked. In 2010, Rossi and Warren filed to

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PADDY MILLS




              patent their method for making stem cells and      in vitro5 and in mice6. In 2005, the pair started          training, Schrum set to work testing different
              later published the results of their research4.    filing to patent the technology for therapeutic            types of modified nucleoside. He bought RNA-
                 The work caught the attention of Robert         purposes.                                                  expression kits from Cellscript and assembled
              Langer, a respected bioengineer and serial                                                                    an array of nucleoside analogues, some of
              entrepreneur from the Massachusetts Insti-         DIFFICULT DEALINGS                                         which he designed.
              tute of Technology in Cambridge, and Noubar        Karikó and Weissman created a company called                  Most of the modified nucleosides were not
              Afeyan, chief executive of Cambridge biotech       RNARx, which received close to $900,000 in                 up to the job. But Schrum found one, a vari-
              investment firm Flagship Ventures. Both men        small-business grants from the US government.              ant of pseudo­uridine called 1-methyl­pseudo­
              immediately saw the sweeping potential of the      In mice and monkeys they showed7 that regu-                uridine, that seemed to do the trick. According
              modified mRNA. The idea of side-stepping           lar mRNA injections could boost production of              to Schrum, mRNA with this nucleoside pro-
              the cell’s defences “was intriguing instantane-    erythropoietin, a hormone that is prescribed to            duced even higher levels of protein expression
              ously”, says Afeyan, who now chairs Moderna’s      treat some forms of anaemia.                               with less inflammation than did the mRNA in
              board of directors.                                   The company’s research efforts ended there,             Karikó and Weissman’s papers. Last year, the US
                 Rossi and Langer brought in a third academic    however, in part because of disagreements                  Patent and Trademark Office granted Moderna
              co-founder — cardiovascular biologist Kenneth      between the researchers and the University of              patents covering the use of 1-methylpseudo­
              Chien, formerly at Harvard Medical School in       Pennsylvania over the licensing of their intel-            uridine, among other nucleosides — but the
              Boston and now at the Karolinska Institute in      lectual property (IP). The university eventually           University of Pennsylvania also received a pat-
              Stockholm — and together they launched Mod-        sold the licence to Cellscript, a firm in Madison,         ent that covers many of the same nucleosides.
              erna in September 2010. The name was Rossi’s       Wisconsin, for an undisclosed sum. Cellscript                 Several other mRNA-therapeutics companies
              invention, a portmanteau of modified and RNA.      has mostly used the rights to market kits for              say that they have proprietary formulations of
                 There was just one problem. “Our paper          making mRNAs with modified nucleosides,                    modified RNA molecules as well, although few
              really put the whole thing on the map but, iron-   but chief executive Gary Dahl says that the                are willing to discuss details. “In mRNAs, every-
              ically, our paper didn’t have anything really to   company also has “an interest in therapeutics”.            thing is deathly quiet,” says Ali Mortazavi, chief
              do with mRNA therapeutics,” says Warren, who       He declined to discuss specifics.                          executive of Silence Therapeutics, an RNA bio-
              now runs Stemiotics, a company in San Diego,          Karikó and Weissman’s patent posed a chal-              tech in London. “There’s really no understand-
              California, that makes custom-order stem cells     lenge for Moderna. A 2010 internal report                  ing of who owns what, so nobody wants to
              using modified mRNA. The modified RNAs             from Flagship Ventures, which was nurturing                disclose anything — and we’re included in that.”
              were not even their innovation.                    Moderna into existence at the time, states that               Karikó, who now works at the German
                 They got the idea from Katalin Karikó and       if scientists could not identify alternatives to           mRNA-therapeutics firm BioNTech in Mainz,
              Drew Weissman at the University of Pennsyl-        pseudouridine and 5-methylcytidine, “our                   points to early “signs that there will be a fierce
              vania in Philadelphia (UPenn). In two papers       company technology may be limited to licens-               battle for licensing” — and not just in the
              that largely fell under the radar at the time,     ing IP from UPenn”.                                        United States. Last year, the European Patent
              these scientists showed that using pseudo­            Moderna needed to find a way around the                 Office received two anonymous letters chal-
              uridine and 5-methyl­cytidine made mRNA            patent, and the task fell to its first employee,           lenging the validity of Karikó and Weissman’s
              nearly invisible to cellular defences, both        Jason Schrum. A nucleic-acid biochemist by                 patent application covering modified mRNA;

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                                                     “THEY’VE CREATED
US authorities granted the patent in 2012, but a                                                                 the therapeutic areas we are in today,” he says.
decision is still pending in the European Union.                                                                     But clinical success is by no means guaran-
   The uncertainties over intellectual property                                                                  teed. “It will probably be like the technologies


                                                         THIS AIR OF
have clearly not dissuaded Moderna’s inves-                                                                      before it,” says James McSwiggen, an inde-
tors. Kolchinsky says that patent disputes may                                                                   pendent biotechnology consultant who has
be painful and expensive, but they eventually                                                                    worked with Moderna in the past. Other RNA-
resolve. “Companies that enable such break-
throughs typically have the resources to fend off
baseless claims, and settle, on reasonable terms,      INEVITABILITY.                                            based drugs, such as antisense therapies, RNA
                                                                                                                 interference and, most recently, micro­RNA,
                                                                                                                 have all gone through periods of industry exu-
the ones that turn out to be legitimate,” he says.
   Moderna also has time on its side. Flush with
cash — the company has an estimated $900 mil-            IT’S A GOOD                                             berance. These are generally followed by years
                                                                                                                 wrestling with scientific realities before the
                                                                                                                 technologies begin to show their true clinical
lion in the bank — it can continue to sign on
pharmaceutical partners and outspend its rivals
on science. This year alone, Moderna plans to
spend between $150 million and $180 million
                                                         STRATEGY.”                                              promise. “I suspect that the same will happen”
                                                                                                                 with mRNA, says McSwiggen. “If any com-
                                                                                                                 pany can weather that boom–bust bit, I would
                                                                                                                 imagine that, given the amount of money that
on research and development — more than any                                                                      they’ve raised, Moderna should.”
other mRNA drug-maker.                               Bancel says that Moderna’s technology has now                   Other mRNA-therapeutics companies are
   “They’ve created this air of inevitability,”      advanced to the point that the company’s initial            persevering, and are getting promising data
says Fruehauf. “It’s a good strategy.”               patent filings are “irrelevant”. “This is Moderna           from studies in large animals. CureVac, a Ger-
                                                     generation 1.0, and we’re at 6.0 now,” he says.             man company that spun off from the University
FUND-RAISER-IN-CHIEF                                 Moderna no longer relies on 1-methylpseudo­                 of Tübingen in 2000, has found that it can get
Much of that momentum boils down to one              uridine in its mRNAs, for example.                          injected mRNA past the immune defences of
man: chief executive Stéphane Bancel. “He’s a           And modified nucleoside chemistry is just                pigs and monkeys by picking molecules with
damn good salesman,” says Justin Quinn, a staff      one part of what goes into building an mRNA                 optimal sequences rather than by modifying
scientist who worked at Moderna until 2012.          drug. Another crucial aspect involves working               their nucleosides8. So far, CureVac has struck
   Bancel joined the company in July 2011            out how to get the mRNA into specific cells and             deals with several big pharmaceutical compa-
after leading the diagnostics firm bioMérieux        tissues in the body — a challenge that contin-              nies and raised around $220 million in equity,
of Marcy-l’Étoile, France, for five years. Afeyan    ues to vex the related field of RNA-interference            including $52 million secured from the Bill
had repeatedly tried to recruit Bancel to run        therapeutics, which emerged more than a dec-                & Melinda Gates Foundation in March this year.
Flagship-launched companies, but Bancel was          ade ago but has had few clinical successes. “The                Dublin-based rare-disease specialist Shire,
not interested in most of the projects — start-      key for messenger RNA is going to be delivery,”             in collaboration with Ethris of Planegg, Ger-
ups that tended to focus on one lead product         says Joseph Payne, president and chief execu-               many, has achieved targeted lung delivery of
in one disease area.                                 tive of Arcturus Therapeutics in San Diego, one             mRNA in a pig model for cystic fibrosis. “For a
   Moderna was different: it promised to             of many drug developers working on nano­                    huge idea” like mRNA, says Michael Heartlein,
reinvent the drug industry. And for Bancel, a        particle-based delivery of mRNA therapeu-                   head of MRNA therapeutics at Shire, “I think
smooth-talking businessman with a penchant           tics. “That’s really the rate-limiting step,” adds          there’s a lot of room for different technologies
for stylish, slim-fitting clothing, “it was worth    Haussecker.                                                 and different players”.
taking a career risk and a massive pay cut to go        Bancel says that Moderna is exploring sev-                   But Bancel’s ambition is for Moderna to
to a start-up if it had the potential to be some-    eral delivery technologies through its in-house             grow so fast and so big that the competition
thing really big”, he says.                          team and partnerships with others — although                simply has no chance. “We want to be the com-
   Bancel quickly set to work on raising capi-       he would not divulge details of the company’s               pany that, if you want to make an mRNA drug
tal — with great success — but some question         approach. “People will figure out in 18 months              five years from now, you pick up the phone
his tactics. In the opinion of a former staff sci-   where we are now when they see the patents,”                and you call Moderna,” he says. “Think about
entist (who requested anonymity) Bancel used         he says. Although at that point, he adds, even              it: if you’re going to put $50 or $100 million
his charisma and connections, as well as the         those methods will probably be out of date.                 into mRNA, do you want to put it into your
clout of the company’s co-founders, to convince                                                                  own team, starting four years behind, and with
investors and partners of the uniqueness of the      THE BEAST                                                   all the IP issues? Or do you want to pile it on
Moderna platform, while glossing over any pos-       At its sleek Cambridge headquarters, Moderna                $900 million of someone else’s money?”
sible holes in its intellectual property. “He did    is equipping itself with the best laboratories that             As for the naysayers and critics, Bancel says,
a tremendous job of persuading people to give        money can buy. In the middle of a third-floor               “I understand people are not happy. I under-
the company money for technology that was not        lab sits “the beast”, as Bancel calls it: a suite of        stand people are jealous. I understand all that.
100% theirs,” the ex-employee says.                  robots that can make up to 50 lots of therapeu-             It’s life.” ■
   In response, Bancel says that of course inves-    tic mRNA per day for testing in non-human
tors in Moderna did their due diligence before       primates. Moderna also plans to open a facility             Elie Dolgin is a science writer in Somerville,
writing cheques: “Companies are a bit more           for making human-grade mRNA later this year.                Massachusetts.
sophisticated than that.”                               Its resources have allowed the company to
                                                                                                                 1. Zangi, L. et al. Nature Biotechnol. 31, 898–907
   He and other Moderna executives also              launch more than 50 drug-development pro-                      (2013).
acknowledge the seminal contributions made           grammes, mostly through external pharmaceu-                 2. Wolff, J. A. et al. Science 247, 1465–1468 (1990).
by Karikó, Weissman and others. But Tony de          tical partners, but also at three wholly-owned              3. Jirikowski, G. F., Sanna, P. P., Maciejewski-Lenoir, D.
                                                                                                                    & Bloom, F. E. Science 255, 996–998 (1992).
Fougerolles, who was Moderna’s first chief sci-      spin-offs: Onkaido, Valera and Elpidera, which              4. Warren, L. et al. Cell Stem Cell 7, 618–630 (2010).
entific officer and now leads research efforts       focus on oncology, infectious diseases and rare             5. Karikó, K., Buckstein, M., Ni, H. & Weissman, D.
at Ablynx in Ghent, Belgium, argues that             diseases, respectively. Bancel says that Valera                Immunity 23, 165–175 (2005).
such early work was largely academic, and            will be first to the clinic, with an mRNA drug              6. Karikó, K. et al. Mol. Ther. 16, 1833–1840 (2008).
                                                                                                                 7. Karikó, K., Muramatsu, H., Keller, J. M. &
that Moderna approached the research “from           that targets an undisclosed infectious disease.                Weissman, D. Mol. Ther. 20, 948–953 (2012).
a pharmaceutical perspective”. Moreover,             “By the end of 2016, we will have trials for all            8. Thess, A. et al. Mol. Ther. 23, S55 (2015).

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